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        Name               Date                          Description                          Hours   Rate        Amount

 Sara Rufo               12/05/23   (1.0) Audit planning for Yellow Corp 2023 audit            1.0    $ 400   $      400.00
                                    including adjusting resource schedule and audit
                                    timeline to fit management's updated reporting
                                    timeline.
 Sara Rufo               12/07/23   (0.5) Call to discuss impact of appointment of equity      0.5    $ 400   $      200.00
                                    committee and Lordstown go forward plan on 2023
                                    audit with S. Stelk, M. Schierholt, S. Rufo (KPMG).
 Scott Stelk             12/07/23   (0.5) Call to discuss impact of appointment of equity      0.5    $ 500   $      250.00
                                    committee and Lordstown go forward plan on 2023
                                    audit with S. Stelk, M. Schierholt, S. Rufo (KPMG).
 Sara Rufo               12/07/23   1.5 Preparation of memo for Changes at the Company         1.5    $ 400   $      600.00
                                    due to bankruptcy / impact on the audit.
 Mark Schierholt         12/07/23   (0.5) Call to discuss impact of appointment of equity      0.5    $ 450   $      225.00
                                    committee and Lordstown go forward plan on 2023
                                    audit with S. Stelk, M. Schierholt, S. Rufo (KPMG).
 Melina Lynn             12/11/23   Review, as of 12/11/23, bankruptcy court hearing           0.5    $ 250   $      125.00
                                    agenda for 12/11 from S. Rufo (KPMG) regarding
                                    Lordstown's bankruptcy proceedings, concurrently
                                    documenting matters within in the KCw audit file for
                                    2023 year-end while creating a folder for future
                                    bankruptcy court dockets.
 Sara Rufo               12/11/23   3.2 Developing audit plan, concurrently performing         3.2    $ 400   $     1,280.00
                                    allocation of resources for Lordstown YE audit as a
                                    requirement to confirm engagement team is
                                    appropriately staffed as well as the timing is
                                    appropriate based on client deadlines.
 Melina Lynn             12/12/23   Removed each Test of Operating Effectiveness from          0.4    $ 250   $      100.00
                                    each entity-level control as this audit is not an ICOFR
                                    audit but the file was already built out like one.
 Sara Rufo               12/12/23   0.5 Meeting with M. Port (Lordstown) and S. Rufo           0.5    $ 400   $      200.00
                                    (KPMG) to discuss timing for YE audit procedures for
                                    Lordstown.
 Melina Lynn             12/12/23   Meeting with S. Rufo and M. Lynn (KPMG) to discuss         0.5    $ 250   $      125.00
                                    project plan over starting the Lordstown 2023 audit to
                                    determine what items we need from the client, what
                                    procedures take priority, and how the audit changes
                                    compared to last year based on the bankruptcy
                                    proceedings.
 Melina Lynn             12/12/23   Downloaded the latest Related Party Questionnaire          0.6    $ 250   $      150.00
                                    from ALex, concurrently updating, as of 12/12/23,
                                    according to the nature of Lordstown Motors Corp
                                    (LMC) to confirm that LMC is independent from
                                    KPMG for S. Rufo (KPMG) approval.




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 Melina Lynn             12/12/23   Documented the engagement team's understanding,           1.1    $ 250   $      275.00
                                    risks, and responses related to LMC's payroll
                                    processes to determine how extensive our substantive
                                    procedures over this process should be.
 Melina Lynn             12/12/23   Continue, from earlier on 12/12/23, to document the       1.2    $ 250   $      300.00
                                    engagement team's understanding, risks, and responses
                                    related to LMC's payroll processes to determine how
                                    extensive our substantive procedures over this process
                                    should be.
 Melina Lynn             12/12/23   Update, as of 12/12/23, the current year audit file       1.7    $ 250   $      425.00
                                    using the prior year and prior quarter files,
                                    specifically, the engagement management and entity-
                                    wide procedures, in order to organize the items that
                                    will be needed to complete the audit for Lordstown
                                    this year.
 Melina Lynn             12/13/23   Added new members coming to the engagement team           0.3    $ 250   $        75.00
                                    to the KCw audit file to confirm they will have access
                                    when they join the team.
 Melina Lynn             12/13/23   Obtained the KPMG retention agreement from the Q2         0.4    $ 250   $      100.00
                                    audit file while moving it to the Year end 2023 audit
                                    file to depict the agreement between Lordstown and
                                    KPMG that states they are retaining us as their
                                    auditors for 2023.
 Melina Lynn             12/13/23   Uploaded our documentation of unpaid fees, the            0.6    $ 250   $      150.00
                                    organization chart of Lordstown Motors Corp, along
                                    with the AC Charter Delegate Authority to the
                                    independence screens in the 2023 audit file to confirm
                                    that independence considerations are followed.
 Melina Lynn             12/13/23   Documented the engagement team's understanding,           0.9    $ 250   $      225.00
                                    risks, and responses related to LMC's treasury
                                    processes to determine how extensive our substantive
                                    procedures over this process should be.
 Melina Lynn             12/13/23   Documented the engagement team's understanding,           1.0    $ 250   $      250.00
                                    risks, and responses related to LMC's equity processes
                                    to determine how extensive our substantive procedures
                                    over this process should be.
 Melina Lynn             12/13/23   Uploaded the Q1, Q2, and Q3 audit files to the 2023       1.3    $ 250   $      325.00
                                    Year End Audit file to account for the committee
                                    meetings that happened thus far in order to remain
                                    current with matters related to Lordstown Motors
                                    Corp.




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 Melina Lynn             12/13/23   Identified which business processes where there is a        2.0    $ 250   $      500.00
                                    reasonable possibility that a risk of material
                                    misstatement (RMM) exists, concurrently
                                    documenting a rationale for the processes that do not
                                    have an RMM and why we think so by using specific
                                    amounts from the trial balance or specific matters that
                                    have been disclosed by Lordstown to prove there is no
                                    risk to assist KPMG team identify which processes
                                    within the company have risks and which do not.
 Sara Rufo               12/13/23   2.8 Senior Manager review, as of 12/13/23, of audit         2.8    $ 400   $     1,120.00
                                    workpaper documentation including board minutes,
                                    independence work, audit plan.
 Melina Lynn             12/14/23   Using the Lordstown last 10Q, updated, as of                0.3    $ 250   $        75.00
                                    12/14/23, KPMG's audit strategy based on matters
                                    disclosed from the company as to their current
                                    standing / involvements in litigation.
 Melina Lynn             12/14/23   Updated, as of 12/14/23, the understanding screens for      0.9    $ 250   $      225.00
                                    Lordstown 3 service organizations by removing
                                    control objectives, denoting that we are not relying on
                                    internal controls as well as rolling forward information
                                    from prior year in preparation for our evaluation over
                                    each service organization.
 Melina Lynn             12/14/23   Create a list of all business process substantive           1.4    $ 250   $      350.00
                                    procedures performed in the prior year along with the
                                    number of samples for each procedure in advance of
                                    sending to S. Rufo (KPMG) for her consideration in
                                    this year's business process substantive testing for
                                    Lordstown.
 Melina Lynn             12/14/23   Reviewed Lordstown 2023 audit file confirming that          2.9    $ 250   $      725.00
                                    allocations to screens are accurate as well as include a
                                    two reviews per screen.
 Melina Lynn             12/15/23   (0.2) Using Lordstown Motors Corp's official website,       0.2    $ 250   $        50.00
                                    confirm that the executives are the same as last year.
 Melina Lynn             12/15/23   Reviewed, as of 12/15/23, the prepared pre-                 0.3    $ 250   $        75.00
                                    engagement screens, concurrently updating
                                    documentation to reflect matters of Lordstown that
                                    have occurred throughout the 2023 year.
 Melina Lynn             12/15/23   (0.4) For the LMC executives, obtained their employee       0.4    $ 250   $      100.00
                                    agreements that were in the 2022 audit file moving
                                    them to the 2023 audit file to show they are still
                                    employed at LMC.
 Scott Stelk             12/15/23   0.7 Discussion with A. Kroll, (Lordstown) on update,        0.7    $ 500   $      350.00
                                    as of 12/15/23, for audit timing and communicating
                                    updates to engagement team via email.



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 Melina Lynn             12/15/23   Continue, as of 12/15/23, to review the Lordstown             3.3    $ 250   $      825.00
                                    2023 audit file, confirming that allocations to screens
                                    are accurate as well as include a two reviews per
                                    screen.
 Melina Lynn             12/15/23   Continue, from earlier on 12/15/23, to review                 3.8    $ 250   $      950.00
                                    Lordstown 2023 audit file to confirm that allocations
                                    to screens are accurate as well as include a two
                                    reviews per screen.
 Melina Lynn             12/18/23   Reviewed, concurrently documenting, as of 12/18/23,           0.5    $ 250   $      125.00
                                    all Q4 Lordstown filings through the SEC to date by
                                    using SEC.gov to collect information on all matters
                                    from the company's during this quarter in Lordstown's
                                    2023 audit file.
 Melina Lynn             12/18/23   Replaced board minute agendas within the audit file           0.7    $ 250   $      175.00
                                    with the final draft of the meeting minutes in order to
                                    document matters related to Lordstown.
 Melina Lynn             12/18/23   Reviewed, as of 12/18/23, reports written by industry         0.7    $ 250   $      175.00
                                    analysts, concurrently documenting reports published
                                    in Q4 2023 to assess how Lordstown compares to
                                    other entities in the industry.
 Melina Lynn             12/18/23   Reviewed, concurrently documenting, as of 12/18/23,           2.3    $ 250   $      575.00
                                    entity-level controls, specifically, for each entity-level
                                    control, populate the D&I screens as well as to gain
                                    insight on the attachments to each screen.
 Melina Lynn             12/18/23   Continue, from earlier on 12/18/23, to review,                2.7    $ 250   $      675.00
                                    concurrently documenting, as of 12/18/23, entity-level
                                    controls, specifically, for each entity-level control,
                                    populate the D&I screens as well as to gain insight on
                                    the attachments to each screen.
 Melina Lynn             12/19/23   (0.2) Aggregate a list of all CERAMICS to forward to          0.2    $ 250   $        50.00
                                    Lordstown management in order to prepare for the
                                    walkthroughs we will conduct.
 Melina Lynn             12/19/23   (0.3) Extracted all attachments to the D&I                    0.3    $ 250   $        75.00
                                    CERAMICS screens in order to remove all
                                    attachments that were related to the testing of controls
                                    that were rolled forward from the previous year.
 Darrin Schultz          12/19/23   0.5 Call for S. Stelk (KPMG) to provide update to D.          0.5    $ 500   $      250.00
                                    Schultz (KPMG) on status, as of 12/19/23, of the
                                    Lordstown plan of emergence from bankruptcy and
                                    provide update on timing of 2023 audit procedures.
 Scott Stelk             12/19/23   0.5 Call for S. Stelk (KPMG) to provide update to D.          0.5    $ 500   $      250.00
                                    Schultz (KPMG) on status, as of 12/19/23, of the
                                    Lordstown plan of emergence from bankruptcy and
                                    provide update on timing of 2023 audit procedures.



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 Sara Rufo               12/19/23   0.5 Meeting with S. Rufo, M. Lynn and D. Varnish           0.5    $ 400   $      200.00
                                    (KPMG) to discuss Lordstown audit plan, as of
                                    12/19/23, and next steps.
 Dan Varnish             12/19/23   0.5 Meeting with S. Rufo, M. Lynn and D. Varnish           0.5    $ 300   $      150.00
                                    (KPMG) to discuss Lordstown audit plan, as of
                                    12/19/23, and next steps.
 Melina Lynn             12/19/23   0.5 Meeting with S. Rufo, M. Lynn and D. Varnish           0.5    $ 250   $      125.00
                                    (KPMG) to discuss Lordstown audit plan, as of
                                    12/19/23, and next steps.
 Melina Lynn             12/19/23   Create 2023 year end PBC list to upload to Lordstown       1.0    $ 250   $      250.00
                                    shared site.
 Melina Lynn             12/19/23   Transferred Sentinel Entity Management Compliance          1.0    $ 250   $      250.00
                                    confirmation from Lordstown quarter files (0.8) as
                                    well as obtain the Q1 version from S. Rufo (KPMG)
                                    (0.2).
 Melina Lynn             12/19/23   Continue, as of 12/19/23, to review, concurrently          3.0    $ 250   $      750.00
                                    documenting entity-level controls, specifically, for
                                    each entity-level control, populate the D&I screens as
                                    well as gain insight on the attachments to each screen.
 Melina Lynn             12/20/23   Create the presentation of the 2023 year end PBC list      0.9    $ 250   $      225.00
                                    to upload to Lordstown shared site in advance of S.
                                    Rufo (KPMG) approval while creating the list on the
                                    client site.
 Melina Lynn             12/20/23   Meeting with S. Rufo and M. Lynn (KPMG) to discuss         1.5    $ 250   $      375.00
                                    questions about Materiality, Audit Planning slides, and
                                    walkthroughs for the Lordstown audit.
 Sara Rufo               12/20/23   Meeting with S. Rufo and M. Lynn (KPMG) to discuss         1.5    $ 400   $      600.00
                                    questions about Materiality, Audit Planning slides, and
                                    walkthroughs for the Lordstown audit.
 Melina Lynn             12/20/23   Updated, as of 12/20/23, the Audit Plan slides             1.8    $ 250   $      450.00
                                    obtained by KAEG based on client matters, our
                                    agreement with the client as well as per discussion
                                    with S. Rufo (KPMG).
 Melina Lynn             12/20/23   Extracted all documents used for the walkthroughs by       3.3    $ 250   $      825.00
                                    using the 2022 Year end audit file while removing all
                                    KPMG tick marks within in advance of sending to S.
                                    Rufo (KPMG) for Lordstown to use as examples for
                                    what to provide for this year's walkthrough.
 Melina Lynn             12/21/23    Continue, as of 12/21/23, to update the Audit Plan        1.5    $ 250   $      375.00
                                    slides obtained by KAEG based on client matters,
                                    specifically our agreement with the client as well as
                                    per discussion with S. Rufo (KPMG).




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                                                          EXHIBIT C1

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        Name               Date                          Description                         Hours   Rate        Amount

 Melina Lynn             12/21/23   (2.5) Create instructions; specifically for Cash, HR,     2.5    $ 250   $      625.00
                                    and Purchases processes relative to Lordstown Audit
                                    to provide to the OKE team.
 Melina Lynn             12/21/23   Updated, as of 12/21/23, the Walkthrough Strategy         2.8    $ 250   $      700.00
                                    required workpaper documentation with the processes
                                    we plan to conduct walkthroughs for as well as which
                                    will only be probes based on risk, PY and other
                                    factors.
 Sara Rufo               12/22/23   (1.0) Senior Manager review, as of 12/22/23, of PBC       1.0    $ 400   $      400.00
                                    list, audit execution schedule in advance of providing
                                    PBC list along with schedule to Lordstown
                                    management.


                                                    Total Audit Services                     68.9            $    19,775.00




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                                                       EXHIBIT C2

                                             Lordstown Motors Corp., et al.
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                                                     Retention Services
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          Name               Date                     Description                     Hours   Rate   Amount




                                          no services provided in current month


                                                Total Retention Services               0.0           $             -




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                                                           EXHIBIT C3

                                                 Lordstown Motors Corp., et al.
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                                               Fee Application Preparation Services
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          Name               Date                         Description                          Hours   Rate        Amount

   Mila Orobia             12/05/23 0.3 Updated, as of 12/05/23, Lordstown 3rd combined         0.3    $ 210   $       63.00
                                    monthly exhibit based on additional information from
                                    the professionals.
   Mila Orobia             12/07/23 0.1 Email communication to C. Campbell (KPMG)               0.1    $ 210   $       21.00
                                    requesting to review Lordstown 3rd combined
                                    monthly fee application.
   Mila Orobia             12/12/23 0.5 Clear C. Campbell (KPMG) comments in the                0.5    $ 210   $      105.00
                                    Lordstown 3rd combined monthly exhibits in advance
                                    of senior manager review.
   Celeste Campbell        12/12/23 Perform manager review of Lordstown 3rd fee                 1.3    $ 298   $      387.40
                                    statement exhibits as required in advance of filing,
                                    concurrently providing comments.
   Mila Orobia             12/13/23 0.1 Email communication to S. Stelk and S. Rufo             0.1    $ 210   $       21.00
                                    (KPMG) requesting to review/approve Lordstown 3rd
                                    combined monthly fee exhibits.
   Mila Orobia             12/13/23 0.1 Email communication with S. Stelk and S. Rufo           0.1    $ 210   $       21.00
                                    (KPMG) requesting for description of services to be
                                    included in KPMG's 3rd combined monthly fee
                                    application narrative for Lordstown Motors Corp.
   Mila Orobia             12/13/23 0.2 Continue, as of 12/13/23, to update Lordstown 3rd       0.2    $ 210   $       42.00
                                    combined monthly exhibit based on additional
                                    information from the professionals.
   Mila Orobia             12/18/23 0.1 Email communication with C. Campbell (KPMG)             0.1    $ 210   $       21.00
                                    requesting to review Lordstown 3rd combined
                                    monthly narrative / declaration certification in advance
                                    of submission to S. Stelk (KPMG) for review/approval
                                    to apply electronic signature.
   Mila Orobia             12/18/23 0.2 Updated, as of 12/18/23, the Lordstown 3rd              0.2    $ 210   $       42.00
                                    combined monthly exhibits based on S. Rufo (KPMG)
                                    review comments.
   Sara Rufo               12/18/23 0.5 Senior Manager review, as of 12/18/23, of 3rd           0.5    $ 400   $      200.00
                                    monthly fee application in advance of partner review.
   Mila Orobia             12/18/23 Prepare Lordstown 3rd combined monthly Narrative            0.6    $ 210   $      126.00
                                    (0.5), Declaration/certification (0.1) to be included in
                                    Lordstown 3rd combined monthly fee application.
   Mila Orobia             12/19/23 0.1 Email communication to S. Stelk (KPMG)                  0.1    $ 210   $       21.00
                                    requesting approval/permission to apply signature to
                                    Lordstown Motors Corp 3rd combined monthly
                                    narrative / declaration/certification.
   Mila Orobia             12/19/23 0.4 Created final combined deliverable of Lordstown         0.4    $ 210   $       84.00
                                    3rd combined monthly fee application in advance of
                                    submission for filing.




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                                                            EXHIBIT C3

                                                 Lordstown Motors Corp., et al.
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                                               Fee Application Preparation Services
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          Name               Date                          Description                          Hours   Rate        Amount

   Scott Stelk             12/19/23 Partner review, as of 12/19/23, of the Lordstown 3rd         0.5    $ 500   $      250.00
                                    combined monthly fee application exhibit in order to
                                    provide approval for filing.
   Celeste Campbell        12/19/23 Perform manager review of LMC 3rd narrative (.6),            0.9    $ 298   $      268.20
                                    certification (.1) and finalized exhibits (.2) in advance
                                    of partner review.
   Mila Orobia             12/20/23 0.1 Email communication to Lordstown counsel                 0.1    $ 210   $       21.00
                                    requesting to file/serve Lordstown 3rd combined
                                    monthly fee application.
   Celeste Campbell        12/20/23 Perform manager review of LMC 3rd final deliverable          0.2    $ 298   $       59.60
                                    in advance of submission for filing.


                                          Total Fee Application Preparation Services             6.2            $     1,753.20




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